Case 1:24-mj-01365-DLC Document5 Filed 06/14/24 Page 1 of 6

Case 1:24-mc-21741-UNA *SEALED* Document1 Entered on FLSD Docket 05/03/2024 Page 1
, of 6

UNITED STATES DISTRICT COURT SE ALED

SOUTHERN DISTRICT OF FLORIDA

CASE NO. _
IN THE MATTER OF FILED BY_|/ D.C.
THE EXTRADITION OF f
EYLEM TOK
/ MAY 03 2024
ANGELA E. NOBLE
CLERK U.S. DIST. CT.
COMPLAINT S, D. OF FLA. - MIAMI

(18 U.S.C. § 3184)

I, the ‘undersigned Assistant United States Attomey, ‘being . duly sworn, state on
information and belief that the following is true and correct:

1. jn this matter I represent the United States in fulfilling its treaty obligations to the
Republic of Tiirkiye (Tiirkiye).

2. There is an Extradition Treaty in force between the Government of the United
States of America and the Government of Tiirkiye: Treaty on Extradition and Mutual Assistance
in Criminal Matters Between the United States of America and the Republic of Turkey, U-S.-
Turk., June 7, 1979, 32 U.S.T. 3111 (the “Treaty”)."

2: Pursuant.to the Treaty, the Government of Tiirkiye has submitted a formal request
through diplomatic channels for the extradition of Eylem Tok (“Tok”).

4, According to information provided by the Government of Tiirkiye, Tok is ‘wanted

for prosecution on a charge of Protecting an Offender, in violation of and punishable by Article

‘ While this remains the title of ‘the Treaty, the United Nations now recognizes Titikiye as the
official spelling of the Requesting State. The U.S. Department of State also recognizes Tiikiye
as the proper spelling in its official correspondence.
Case 1:24-mj-01365-DLC Document5 Filed 06/14/24 Page 2 of 6

Case 1:24-mc-21741-UNA *SEALED* Document 1 Entered on FLSD Docket 05/03/2024 Page 2
of 6

283/1 of the Criminal Code of Tiirkiye.? This offense was committed within the jurisdiction of
Tiirkiye.

5. At the request of the Chief Public Prosecutor’s Office of Istanbul, a Chief Judge
from the Istanbul 7th Criminal Judgeship of Peace issued a warrant for Tok’s arrest on March 6,
2024. The extradition request presents the following facts as the basis for the arrest warrant and
extradition request:

Bt: eet: a. _. Tok is accused of assisting her 16-year-old.son, T.C., to flee. Turkey. . .
immediately after he caused a fatal car crash. T.C., who is also sought for extradition to Ttirkiye,
allegedly killed one person and injured several others when he drove his vehicle at an
excessively high rate of speed around a corner late at night on March 1, 2024. T.C. fled the scene
before authorities arrived. Within hours of the crash, Tok and T.C. had purchased airline tickets
and fled Tiirkiye for the United States, via Cairo, Egypt.

b. On the night of March 1, 2024, T.C. was driving a Porsche with three
passengers, one in the front, A.K., and two in the back, A.A. and B.A. T.C.’s friend, D.0.0., was
driving another vehicle, also with passengers, directly behind T.C.’s vehicle.

C. Pursuant to Article 76 of the Regulation on Road Traffic, a person must be
at least the age of eighteen to secure a driver’s license in Tiirkiye. Accordingly, Turkish
authorities confirmed that T.C. did not have a driver’s license or otherwise have legal permission
to drive at the time of the crash.

d. At around 11:20 p.m., T.C. and D.O.O. were driving on a road with a

speed limit of 30 kilometers per hour (approximately 18 miles per hour). According to

2 Ttirkiye also sought Tok’s extradition on a charge of Destroying, Concealing, or Altering
Evidence, in violation of Article 281 of the Turkish Criminal Code. However, the United States
is not forwarding that charge to the court for consideration.

2

Case 1:24-mj-01365-DLC Document 5 Filed 06/14/24 Page 3 of 6

Case 1:24-mc-21741-UNA *SEALED* Document 1 Entered on FLSD Docket 05/03/2024 Page 3
of 6

statements provided by T.C.’s passengers to Turkish authorities, T.C. suddenly began driving his
vehicle faster after they passed a speed breaker on the road. The passengers requested that T.C.
slow down, but he did not-do so. In response, at least some of the passengers then put-on their
seat belts just “in case.”

, The vehicle approached a curve in the road, and according to T.C.’s
passengers, T.C. was driving too fast through the bend. As they were driving through the bend,

_.-T.C, and his passengers noticed something on the right side of the road. It was.a.group of people...
with all-terrain vehicles (“ATVs”). In response, T.C. suddenly turned the steering wheel in
apparent effort to avoid hitting the group, but the car started to skid and hit the ATVs. T.C.’s car
ended up on the opposite side of the road in a water channel, and the air bags deployed.

f. According to D.O.0., who was driving behind T.C. at the relevant time,
T.C. had significantly increased his driving speed and entered a bend in the road too fast. D.O.0O.
lost sight of T.C.’s vehicle for several seconds as it went around the bend. When D.O.0. reached
the bend, he saw T.C.’s vehicle lose control and crash into a water channel. D.O.O. immediately
stopped his vehicle and noticed two men lying on the side of the road.

g. At the time of the crash, five individuals were stopped on the side of the
road because one of their ATV vehicles had broken down. One of the individuals died from the
impact with T.C.’s car; all the others were injured.

h. According to witnesses, T.C. and his friends had been driving around for
some time before the crash. None of the passengers in T.C.’s or D.O.0.’s vehicles reported to
authorities that T.C. had been intoxicated, although T.C. fled the scene before any tests could be

performed. There also did not appear to be any indication that T.C.’s vehicle had malfunctioned.

Case 1:24-mc-21741-UNA *SEALED*

Case 1:24-mj-01365-DLC Document 5 Filed 06/14/24 Page 4 of 6

of 6

i. According to a forensics report, authorities estimated that T.C.’s vehicle
was traveling at approximately 170-180 kilometers per hour (approximately 105-111 miles per
hour) at the time of the crash, which was significantly over the 30 kilometers per hour speed
limit on the road.

i T.C. called his private driver immediately after the crash, who then
conveyed information to Tok. T.C. may have also called Tok directly. An employee of Tok’s ex-
husband, who is T.C.’s father, told authorities that the employee and Tok then.drove to the scene
and took T.C. and two of his friends home.

k. According to T.C.’s private driver, afterward he then left with Tok to
return to the scene of the crash, but they turned around and returned to her residence as soon as
they saw a police presence.

L, Tok’s ex-husband’s employee told authorities that she then took Tok and
T.C. to the airport. Video surveillance footage from Tok’s residential complex and the airport
corroborate the employee’s account.

m. A.K., the front seat passenger in T.C.’s vehicle, identified Tok to Turkish
authorities as the mother of T.C., the person who was driving the Porsche that hit five individuals
stopped on the side of the road. A.K. also identified Tok as the person who came to the scene of
the accident with another woman and took T.C. home.

n. According to surveillance footage at the airport, Tok and T.C. arrived at
the Egyptair ticket sales office around 2:35 a.m. on March 2, 2024, only three hours after the
crash. Tok purchased one-way tickets on a 3:50 a.m. flight from Istanbul, Tiirkiye, to Cairo,
Egypt, for herself and T.C. They continued on to the United States and landed in New York on

March 2, 2024

Document 1 Entered on FLSD Docket 05/03/2024 Page 4

Case 1:24-mj-01365-DLC Document5 Filed 06/14/24 Page 5 of 6

Case 1:24-mc-21741-UNA *SEALED* Document 1 Entered on FLSD Docket 05/03/2024 Page 5

of 6

0. Tok and T.C. were later observed in New York City, New York.
p. According to information provided from Turkish law enforcement to
Interpol, Tok and T.C. are now believed to be in Miami, Florida.
6. According to information gathered and provided by the U.S. Marshals Service,
Tok is expected to be found within the jurisdiction of this Court.
ai Tom Heinemann, an attorney in the Office of the Legal Adviser of the U.S.
_Department.of State, has. provided the U.S. Department..of Justice with .a_.declaration .
authenticating a copy of the diplomatic note by which the request for extradition was made and
providing a copy of the Treaty. The declaration states that the offense for which extradition is
sought is covered by the Treaty. It also confirms that the documents supporting the request for
extradition bear the certificate or seal of the Ministry of Justice of Tiirkiye and, alternatively, are
properly certified by the principal U.S. diplomatic or consular officer in Tiirkiye in accordance
with Title 18, United States Code, Section 3190, so as to enable them to be received into
evidence.
8. The declaration from the U.S. Department of State with its attachments, including
a copy of the diplomatic note from Tiirkiye, a copy of the Treaty, and the certified documents
submitted in support of the request, are filed with this complaint and incorporated by reference
herein (marked collectively as Government’s Exhibit 1).

g, Tok would likely flee if she learned of the existence of a warrant for her arrest.

3 The United States will file an unredacted copy of Government’s Exhibit 1 as a separate docket
entry under seal. Once this complaint is unsealed, the United States will file a redacted copy of
Government’s Exhibit 1.
“Case 1:24-mj-01365-DLC Document5 Filed 06/14/24 Page 6 of 6
Case 1:24-mc-21741-UNA *SEALED* Document 1 Entered on FLSD Docket 05/03/2024 Page 6
of 6

WHEREFORE, the undersigned requests that a warrant for the arrest of the aforenamed
person be issued in accordance with Title 18, United States Code, Section 3184 and the
extradition treaty between the United States and Turkiye, so that the fugitive may be arrested and
brought before this Court to the end that {fie evidence of evinntnality sae be heard and
considered, and that this complaint and the warrant be placed under the seal of the Court until

such time as the warrant is executed,

LindseyfMaultasch *

Assistant United States Attorney

Attested to by the applicant in accordance with the requirements of Fed.R.Crim.P. 4.1
by Face Time this 2nd_ day of May 2024, at Miaimi, Florida.

HONORABLE LISETTE M. REID
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF FLORIDA

